Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 1 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 2 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 3 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 4 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 5 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 6 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 7 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 8 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 9 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 10 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 11 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 12 of 13
Case 3:04-cr-00107-FDW   Document 44   Filed 06/17/05   Page 13 of 13
